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                          UNITED STATES DISTRICT COURT

                         EASTERN DISTRICT OF LOUISIANA


Jordella Robinson, Individually and as a representative
of a class of similarly situated borrowers,

                     Plaintiffs                           Civil Action No. 2:15-cv-04123

v.                                                        Section C – Judge Sarah S. Vance

Standard Mortgage Corporation and Standard                Magistrate 2 – Joseph C. Wilkinson, Jr.
Mortgage Insurance Agency, Inc.,

                     Defendants

                 DEFENDANTS’ RULE 12(b)(6) MOTION TO DISMISS
                        AMENDED CIVIL RICO CLAIM

       NOW INTO COURT, through undersigned counsel, come Defendants, Standard

Mortgage Corporation and Standard Mortgage Insurance Agency, Inc., who respectfully move

the Court for entry of an Order dismissing, with prejudice, Counts 1 and 2 of the Amended

Complaint filed by Plaintiff, Jordella Robinson, asserting Civil RICO claims. The grounds for

this Motion are set forth with more particularity in the accompanying Memorandum in Support.


                                           Respectfully submitted,

                                           s/ John Anthony Dunlap
                                           ______________________________________
                                           CARVER, DARDEN, KORETZKY, TESSIER,
                                           FINN, BLOSSMAN & AREAUX, LLC
                                           Frank A. Tessier (# 9749)
                                           John Anthony Dunlap (# 18190) T.A.
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                                               Attorneys for Standard Mortgage Corporation and
                                               Standard Mortgage Insurance Agency, Inc.




                                CERTIFICATE OF SERVICE

        I hereby certify that on this   20th      day of January, 2016, I electronically filed the

foregoing with the clerk of court by using the CM/ECF system of the Eastern District of

Louisiana, which will send notice of electronic filing to counsel of record for all parties in this

case.

                                                      s/ John Anthony Dunlap

                                                      John Anthony Dunlap
